Case 22-11535 Doc 53 Filed 08/21/23 Entered 08/21/23 16:44:44 Main Document Page 1 of 3




                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA

   IN RE :                                     *              CASE NO. 22-11535

   ARMANDO AMAYA, III                          *              SECTION A
   JENNIFER O. AMAYA
        DEBTORS                                *              CHAPTER 13

   *      *      *       *        *    *       *

                              OPPOSITION TO
        MOTION FOR RELIEF FROM AUTOMATIC STAY AS TO THE PROPERTY
             LOCATED AT 1833 WEDGEWOOD DR., HARVEY, LA 70058

          NOW INTO COURT, through undersigned counsel, comes Armando Amaya, III. and

   Jennifer O. Amaya (“Debtors”), who respectfully request that the Court deny the Motion for

   Relief From Automatic Stay as to the Property Located at 1833 Wedgewood Dr., Harvey, LA

   70058 [ECF Doc. 45] (“Motion for Relief From Stay”) for the following reasons:

                                                   1.

          On June 30, 2023, NationStar Mortgage filed the Motion for Relief From Stay asserting

   that the Debtor did not make the May 2023 and June 2023 payments totaling $5,082.82. The

   Debtor admits that the May payment was not made timely because the Debtor was out of the

   Country, but the Debtor paid the May and June payment on June 23, 2023 in the amount of

   $5,082.82, one week before the Motion for Relief From Stay was filed. Thus, as of the date the

   Motion for Relief from Stay was filed, there were no payments due to NationStar and the Debtor

   was current on all payments.

                                                   2.

          On June 30, 2023, undersigned counsel promptly notified counsel for NationStar that the

   Debtor’s made the payments on June 23, 2023 and were current on all payments. Counsel for

   NationStar explained to undersigned counsel that she sent a request to NationStar for an updated
Case 22-11535 Doc 53 Filed 08/21/23 Entered 08/21/23 16:44:44 Main Document Page 2 of 3




   list of payments, but has not confirmed to undersigned counsel whether NationStar still asserts a

   payment is due.

                                                    3.

          To further complicate matters, NationStar recently transferred the claim to Select

   Portfolio Servicing, Inc. See Transfer of Claim [ECF Doc. 52].

                                                    4.

          The Debtors are willing to pay any amount that is necessary to bring the mortgage

   current, however, the Debtors believe they are current on all payments and the Motion for Relief

   from Stay should be denied.       In the alternative, the Debtors request that Select Portfolio

   Servicing, Inc. provide the Debtors with an accounting of payments made from December 2022

   to date, so that the Debtors can compare that information to their records and identify if in fact

   any amount is due to Select Portfolio Servicing, Inc.

          WHEREFORE, the Debtors pray that the Motion for Relief from Stay [P-45] be denied,

   or alternatively continued to a date after Select Portfolio Servicing, Inc. provides Debtors with an

   accounting of payments made by Debtors between December 2022 to present.

          And for all general and equitable relief as the nature of the case may permit

                                                 Respectfully Submitted,

                                                 THE DERBES LAW FIRM, LLC

                                                 /s/ Frederick L. Bunol
                                                 FREDERICK L. BUNOL (29,111)
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                                                 Attorney for Debtors
Case 22-11535 Doc 53 Filed 08/21/23 Entered 08/21/23 16:44:44 Main Document Page 3 of 3




                                   CERTIFICATE OF SERVICE

           I hereby certify that on August 21, 2023, a copy of the foregoing was served on Elizabeth
   Crowell      Price     counsel    for    Nationstar     Mortgage,      LLC     via    email     at
   elizabeth.price@ms.creditorlawyers.com and all counsel of record through the Court’s ECF
   System, as set forth below.

   Herschel C. Adcock, Jr. on behalf of Creditor Nationstar Mortgage LLCbknotices@hca.law
   S. J. Beaulieu, Jr.ecf@ch13no.com
   Office of the U.S. TrusteeUSTPRegion05.NR.ECF@usdoj.gov



                                                       /s/ Frederick L. Bunol
                                                       FREDERICK L. BUNOL
